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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                       NEW YORK, NY 10278-0001


CHAMBERS OF
 Claire R. Kelly
     Judge


                                                             April 5, 2018

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       Re:    Claude N. Lewis v. American Sugar Refining, Inc. and Mehandra Ramphal,
              Case No. 14-cv-02302

Dear Counsel:

        The court is in receipt of the parties’ request for an extension of time until Monday,
April 9, 2018, to file a proposed jury instruction regarding evidence and testimony related
to the financial status of American Sugar Refining Inc. as it relates to the issues of liability,
compensatory damages, and punitive damages and a proposed jury instruction on the
EEOC issue. The court grants the parties’ request.

       If you have any questions, please contact my case manager, Mr. Steve Taronji, at
(212) 264-1611.


                                                    Sincerely,

                                                     /s/ Claire R. Kelly
                                                    Claire R. Kelly, Judge
